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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA

United States of America,                                   Crim. No. 21-108 (PAM/TNL)

                            Plaintiff,

v.                                                                                ORDER

Derek Michael Chauvin,
Tou Thao, J Alexander
Kueng, and Thomas
Kiernan Lane,

                          Defendants.
          ___________________________________________________________

       This matter is before the Court on the parties’ joint Motion to set deadlines in

advance of trial. The parties have agreed to deadlines for their expert witnesses as well as

for filing motions in limine and exchanging and submitting trial materials.

       Accordingly, IT IS HEREBY ORDERED that the joint Motion (Docket No. 136)

is GRANTED and the following schedule shall govern the pretrial proceedings in this

matter:

       December 20, 2021:          Each party shall make initial disclosure of any experts
                                   it intends to call at trial (names and CVs only)

       December 30, 2021:          Each party shall file Motions in Limine

       January 3, 2022:            Each party shall make complete expert disclosures
                                   (written summaries)

       January 6, 2022:            Each party shall submit its Exhibit List, Witness List,
                                   and Special Verdict Form to the Court and file any Trial
                                   Brief, Proposed Jury Instructions, and proposed Voir
                                   Dire

       January 10, 2022:           Each party shall file any responses to Motions in Limine
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      January 17, 2022:           Each party shall make disclosures of rebuttal experts
                                  (names, CVs and written summaries)

      January 17, 2022:           Each party shall exchange exhibits with the other
                                  parties.



Dated: Friday, December 3, 2021                s/ Paul A. Magnuson
                                               Paul A. Magnuson
                                               United States District Court Judge




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